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 4
                           UNITED STATES DISTRICT COURT
 5                   WESTERN DISTRICT OF WASHINGTON AT TACOMA

 6    ALMOG MEIR JAN, SHLOMI ZIV, and                  NO. 3:24-cv-05553-TMC
      ANDREY KOZLOV,
 7                           Plaintiffs,               STIPULATED MOTION FOR
                                                       EXTENSION OF TIME TO JOIN
 8    v.                                               PARTIES AND AMEND
                                                       PLEADINGS
 9    PEOPLE MEDIA PROJECT, a Washington
      Non-Profit Corporation, d/b/a PALESTINE
      CHRONICLE; RAMZY BAROUD; JOHN                    NOTED FOR HEARING:
10                                                     JUNE 13, 2025
      HARVEY; and DOES 1 through 10,
11
                                        Defendants.
12

13           Plaintiffs and Defendants, by and through their undersigned counsels, respectfully

14   submit this Stipulated Motion for Extension of Time to Join Parties and Amend Pleadings. In

15   support of their Motion, the Parties state as follows:

16                                      I.      BACKGROUND

17           1.     Plaintiffs filed their Amended Complaint (the “Complaint”) on February 21,

18   2025 [Dkt. 41]. The Complaint includes three named Defendants and ten unnamed Defendants,

19   whom Plaintiffs expect to identify in the course of discovery.

20           2.     On March 3, 2025, this Court entered an Order Setting Bench Trial and Pretrial

21   Dates [Dkt. 44]. That Order set the deadline for filing motions to join parties for June 2, 2025,

22   and the deadline for amending pleadings for June 12, 2025.

23

24
      MOTION FOR EXTENSION OF TIME TO JOIN PARTIES AND
      AMEND PLEADINGS - 1
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 1          3.      On March 13, 2025, Defendants moved to dismiss the Amended Complaint and

 2   to stay discovery pending resolution of their Motion to Dismiss [Dkts. 45–46].

 3          4.      Plaintiffs served Requests for Admission, Interrogatories, and Requests for

 4   Production on Defendant People Media Project on April 18, 2025. See Exhibit A. These

 5   requests, in part, seek to identify additional individuals employed by or who collaborated with

 6   Defendants. Defendant People Media Project’s responses were due May 11, 2025.

 7          5.      On May 6, 2025, the Court denied Defendants’ Motion to Dismiss and

 8   consequently denied their motion to stay as moot [Dkt. 55].

 9          6.      Following the Court’s decision, the Parties agreed to extend Defendant People

10   Media Project’s deadline to respond to Plaintiffs’ discovery requests to May 30, 2025.

11          7.      On May 30, counsel for Defendant People Media Project requested an

12   additional two-day extension to June 3, 2025, to which Plaintiffs agreed.

13                                       II.     ARGUMENT

14          8.      The Parties respectfully request a 45-day extension of the deadline to join

15   parties, to July 17, 2025, to provide Plaintiffs sufficient time to analyze Defendant People

16   Media Project’s discovery responses and determine whether there are other individuals

17   appropriate to join as parties in this matter. The Parties also request a commensurate extension,

18   to July 28, 2025, of the deadline to amend pleadings, should discovery reveal a basis to do so.

19          9.      This Court may modify a scheduling order upon a showing of good cause. See

20   Fed. R. Civ. P. 16(b)(4). “Rule 16(b)’s ‘good cause’ standard primarily considers the diligence

21   of the party seeking the amendment.” Johnson v. Mammoth Recreations, 975 F.2d 604, 609

22   (9th Cir. 1992). If a deadline “cannot reasonably be met despite the diligence of the party

23   seeking the extension,” the Court may modify the pretrial schedule. Id. (citation omitted).

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      MOTION FOR EXTENSION OF TIME TO JOIN PARTIES AND
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 1           10.     Here, Plaintiffs acted with diligence to identify additional individuals who were

 2   employed by or collaborated with Defendants to aid and abet the violations of international

 3   law that injured Plaintiffs.

 4           11.     On April 18, Plaintiffs served discovery requests on Defendant People Media

 5   Project seeking information about Defendant’s officers and employees, including

 6   communications between those officers and employees and Abdallah Aljamal, the Hamas

 7   operative and Palestine Chronicle “journalist” who held Plaintiffs hostage in his home.

 8           12.     Defendant People Media Project has yet to respond to those requests, and

 9   Plaintiffs have agreed to Defendants’ requests for extensions to respond.

10           13.     It is likely that Defendant People Media Project’s responses to those requests

11   will identify which of those individuals had sufficient knowledge of and interactions with

12   Aljamal to be joined as defendants.

13           14.     However, at this time, despite Plaintiffs’ diligence, they have been unable to

14   access that information and are therefore unable to meet the current deadline to join parties and

15   to amend pleadings.

16           WHEREFORE, the Parties respectfully request a 45-day extension of the deadline to

17   join parties, to July 17, 2025, and a commensurate extension of the deadline to amend

18   pleadings, to July 28, 2025, or any other dates the Court considers appropriate.

19           //

20           //

21           //

22           //

23           //

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      MOTION FOR EXTENSION OF TIME TO JOIN PARTIES AND
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 1          DATED this 12th day of June 2025.

 2   Plaintiff’s Trial Counsel                         Defendants’ Trial Counsel

 3   /s/Aric S. Bomsztyk_____________________          /s/Daniel Kovalik_____________________
     Aric S. Bomsztyk (WSBA #38020)                    Ralph Hurvitz
 4   Blair M. Russ (WSBA #40374)                       P.O. Box 25642
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     Seattle, Washington 98104                         ralph@hurvitz.com
 6   Phone: (206) 621-1871
     asb@tbr-law.com                                   Daniel Kovalik
 7   bmr@tbr-law.com                                   112 Washington Place, Suite 15K
                                                       Pittsburgh, Pennsylvania 12519
 8   Mark Goldfeder (pro hac vice)                     Phone: (412) 335-6442
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     West Hempsted, New York 11552
10   Phone: (917) 301-8746
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17   Washington, District of Columbia 20037
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      AMEND PLEADINGS - 4
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                                                        Exhibit A
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 3
                          UNITED STATES DISTRICT COURT
 4                  WESTERN DISTRICT OF WASHINGTON AT TACOMA

 5    ALMOG MEIR JAN, SHLOMI ZIV, and                    NO. 3:24-cv-05553-TLF
      ANDREY KOZLOV,
 6                           Plaintiffs,                 PLAINTIFFS’ FIRST
      v.                                                 INTERROGATORIES &
 7                                                       REQUESTS FOR PRODUCTION
      PEOPLE MEDIA PROJECT, a Washington
 8    Non-Profit Corporation, d/b/a PALESTINE
      CHRONICLE; RAMZY BAROUD; JOHN
 9    HARVEY; and DOES 1 through 10,

10                                      Defendants.

11
       PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR PRODUCTION
                               TO DEFENDANT:
12
              PEOPLE MEDIA PROJECT d/b/a PALESTINE CHRONICLE
13
            Pursuant to Federal Rule of Civil Procedure 34, Plaintiffs Almog Meir Jan, Shlomi Ziv,
14
     and Andrey Kozlov (collectively, “Plaintiffs”), request that Defendant People Media Project
15
     d/b/a Palestine Chronicle respond to the following Interrogatories and produce documents for
16
     inspection and copying within thirty (30) days of service of these Interrogatories and Requests
17
     for Production, at the offices of the attorneys for Plaintiffs, Tomlinson Bomsztyk Russ, 1000
18
     Second Avenue, Suite 3660, Seattle, Washington 98104, or at such other place as may be
19
     agreed upon, the documents and things within Palestine Chronicle’s possession, custody, or
20
     control as set forth below.
21
            The following definitions and instructions apply:
22
                                             DEFINITIONS
23
            1.      “Plaintiffs” refers to all Plaintiffs in this action or to any of them.
24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 1
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 1          2.      “Defendants” refers to the Defendants named in the First Amended Complaint,

 2   including Does 1-10, and any employees, attorneys, partners, agents, representatives, or any

 3   other Person or entity acting or purporting to act on their behalf, including any entity

 4   Defendants have ever had any control over, ownership of, or ownership interest in who has

 5   possession, custody, control, knowledge, or responsibility for any communication or document

 6   sought by these Requests.

 7          3.      “Palestine Chronicle” means Defendant People Media Project d/b/a Palestine

 8   Chronicle.

 9          4.      “Baroud” means Defendant Ramzy Baroud.

10          5.      “Harvey” means Defendant John Harvey.

11          6.      “Aljamal” means Abdallah Aljamal.

12          7.      “You” or “Your” means Defendant People Media Project d/b/a Palestine

13   Chronicle as well as any directors, agents, employees, independent contractors, volunteers,

14   attorneys, partners, agents, representatives, or any other person or entity acting or purporting

15   to act on behalf the Defendant People Media Project d/b/a Palestine Chronicle.

16          8.      The singular form of a word should be interpreted in the plural as well. Any

17   pronoun shall be construed to refer to the masculine, feminine, or neuter gender, whichever in

18   each case is broadest. The words “and” and “or” shall be construed conjunctively or

19   disjunctively, whichever makes the Request more inclusive.

20          9.      The terms “Relating,” “Relate”, and/or “Related” includes but is not limited to

21   the following meanings: pertaining, concerning, referring, discussing, mentioning, containing,

22   reflecting, evidencing, constituting, describing, showing, identifying, proving, disproving,

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 2
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 1   consisting of, supporting, contradicting, in any way legally, logically, or factually connected

 2   with the matters referenced.

 3          10.     “All” shall be construed to include “any” and “each,” “any” shall be construed

 4   to include “all” and “each,” and “each” shall be construed to include “all” and “any,” in each

 5   case as is necessary to bring within the scope of these interrogatories documents and things

 6   that might otherwise be construed as outside their scope.

 7          11.     “Identify” or “Identity” means:

 8          (a)     When used with reference to a natural person, to state his or her full name,

 9   present home address, present business address, present home and business telephone number,

10   present or last known position, and business affiliation at the time in question.

11          (b)     When used with reference to an entity, such as a partnership (either general or

12   limited), joint venture, trust, or corporation, to state the full legal name of such entity, each

13   name under which such entity does business, the entity’s telephone number, and the identity

14   of the chief operating officer, manager, trustee, or other principal representative.

15          (c)     When used with reference to documents, to state specifically:

16                  (i)    The type of document involved (e.g., letter, interoffice memorandum,

17                         etc.), together with information sufficient to enable the location of the

18                         document such as its date, the name of any addressee and the name of any

19                         signor, the title or the heading of the document and its approximate

20                         number of pages; and

21                  (ii)   The identity of the custodian or other person last known to have

22                         possession of the document, together with the present or last known

23                         location of the document.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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      CHRONICLE - 3
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 1          12.      “Describe” or “State with Particularity” means to state every material fact and

 2   circumstance specifically and completely, including without limitation date, time, location,

 3   amount, quantity and identity of all participants, and whether each such fact or circumstance

 4   is stated on knowledge, information, or belief, or is alleged without foundation.

 5          13.     “Person(s)” means natural persons as well as all entities, including, without

 6   limiting the generality of the foregoing, business, non-profit, legal or governmental entity,

 7   associations, organization, associations, companies, partnerships, joint ventures, corporations,

 8   trusts, estates, public agencies, municipalities, departments, bureaus, commissions and boards.

 9   Conversely, “entity” means entities as well as natural persons.

10          14.     The terms “Communication,” “Communicate”, or “Communicated” refer to the

11   transmission, sending, and/or receipt of information of any means including but not limited to:

12   speech; writings; language; text and audio messages between mobile phones; text and audio

13   messages sent over mobile phone applications, such as Telegram, WhatsApp, and Signal;

14   emails; telephone; video tape; photographs; graphs; symbols; signs; magnetic disks; sound;

15   radio and/or video signal; teletype; telecommunication; telegram; microfilm; microfiche;

16   beepers or pagers; photographic film of any type; and/or other media of any kind.

17          15.     The terms “Document” and “Documents” are used herein in the broadest sense

18   permissible under Rule 34 of the Federal Rules of Civil Procedure, and include, but are not

19   limited to, any written, recorded or tangible graphic matter, or any other means of preserving

20   data, expression, facts, opinions, thought, images, or other information of any kind, including

21   without limitation all non-identical copies, drafts, out takes, subsequent versions, worksheets

22   and proofs, however created or recorded, including without limitation audio tapes, annotations,

23   calendars, correspondence, data or information of any kind recorded on compact disks, digital

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1   video diskettes, or any other type or form of diskettes for use with computers or other electronic

 2   devices, or any hard drive, diary entries, electronic recordings of any kind, e-mail, memoranda,

 3   notes, photographs, reports, telephone slips and logs, video cartridges and videotapes, and

 4   sites, databases, or other means of information storage or retrieval on the Internet or the World

 5   Wide Web. These terms are to be interpreted broadly to include documents stored in any

 6   medium and specifically includes electronically stored information (“ESI”) such as e-mail and

 7   documents maintained in electronic form on Your websites, servers, and standalone computers

 8   and hard drives.1

 9            16.      “Financial Statements” mean Documents and Communications demonstrating

10   Your financial performance and business activities over a given period of time, including

11   information regarding Your assets, liabilities, cash flow, and profitability. Financial Statements

12   include, but are not limited to, Your balance sheet for each fiscal year, Your income statement

13   for each fiscal year, and Your cash flow statement for each fiscal year.

14            17.      “FTO” means any entity currently designated by the United States as a Foreign

15   Terrorist Organization or formerly designated by the United States as a Foreign Terrorist

16   Organization (i.e., Ansarallah, also known as the Houthis).

17            18.      “IS-DTO” means any entity currently designated by the State of Israel as a

18   terrorist organization or formerly designated by the State of Israel as a terrorist organization

19   (i.e., Ansarallah, also known as the Houthis).

20

21
     1
       ESI includes, but is not be limited to, all text files (including word processing documents), spread sheets, e-mail
22   files and information concerning e-mail (including all metadata fields, logs of e-mail history and usage, header
     information and “deleted” files including all potentially relevant data contained in free or slack space), Internet
     history files and preferences, graphical image format (“GIF”), tagged image file format (“TIFF”), portable
23   document format (“PDF”) files, databases, contacts, tasks, calendar and scheduling information, computer system
     activity logs, all file fragments, and backup files containing Electronic Data.
24
         PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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         CHRONICLE - 5
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 1          19.     “Hamas” means the FTO also known as Harakat al-Muqawama al-Islamiya that

 2   was designated an FTO by the United States in October 1997.

 3          20.     “October 7th” means the Hamas-led attack on Israel and its citizens that took

 4   place on October 7, 2023.

 5          21.     “Social Media Activity” means any post, graphic, video, or any other content

 6   disseminated via any social media platform such as Instagram, X (formerly known as Twitter),

 7   Instagram, WhatsApp, Signal, Telegram, and TikTok, including any drafts of such content.

 8          22.     “Value Transfer” means the transfer of anything of value, including any

 9   tangible or intangible thing having a market value, including, without limitation, money,

10   cryptocurrency, real property, personal property, services, loans of money or property,

11   gratuities, favors, grants, awards, rewards, scholarships, discounts, promises of future

12   employment, honoraria, event tickets, travel, lodging, meals, and the forbearance and

13   forgiveness of debt.

14          23.     “Search List” refers to the following terms: “Encampment”; “Qatar”; “Turkey”;

15   “Iran”; “October 7”; “October 7th”; “10/7”; “Oct 7”; “Hamas”; “Hezbollah”; “Aljamal”;

16   “hostage”; “kidnapping”; “kidnap”; “Gaza”; “Nuseirat”; “Almog”; “Meir”; “Jan”; “Shlomi”;

17   “Ziv”; “Andrey”; and “Kozlov”.

18                                         INSTRUCTIONS

19          1.      These requests apply to all items (e.g., documents or things) in Your possession,

20   custody, or control at the present time, as well as all items that come into Your possession,

21   custody, or control. If You know of the existence, past or present, of any items requested below,

22   but are unable to produce such items because they are not presently in Your possession,

23   custody, or control, You shall so state and shall provide a written statement setting forth:

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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      CHRONICLE - 6
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 1                  (a)     the identity of the item;

 2                  (b)     the nature of the item (e.g., letter, memorandum, or chart);

 3                  (c)     the identity of the person(s) who created (e.g., authored) the item;

 4                  (d)     the identity of any person who received a copy of the item;

 5                  (e)     the date of the item;

 6                  (f)     a brief description of the subject matter of the item; and

 7                  (g)     the identity of any person who has possession, custody, or control of the

 8                  item.

 9          2.      If no documents are responsive to a particular request, state that no responsive

10   documents exist.

11          3.      For any responsive items (e.g., documents or things) that have been lost,

12   destroyed, withheld from production, or redacted, for any reason, You shall provide a written

13   statement setting forth:

14                  (a)     the identity of the item;

15                  (b)     the nature of the item (e.g., letter, memorandum, or chart);

16                  (c)     the identity of the persons(s) who created (e.g., authored) the item;

17                  (d)     the identity of any person who received a copy of the item;

18                  (e)     the date of the item;

19                  (f)     a brief description of the subject matter of the item; and

20                  (g)     the circumstances of the loss or destruction of the item or any fact,

21                  statute, rule, or decision upon which You rely in withholding or redacting the

22                  item.

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 7
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 1           4.         If You decline to produce any document or part thereof based on a claim of

 2   privilege or any other claim, describe the nature and basis of Your claim and the information

 3   withheld in a manner sufficient:

 4                      (a)    to disclose the facts upon which You rely in asserting Your claim;

 5                      (b)    to permit the grounds and reasons for withholding the information to be

 6                      unambiguously identified; and

 7                      (c)    to permit the information withheld to be unambiguously identified.

 8           5.         If any document produced contains any code, pseudonym, or acronym used to

 9   describe, reference, or name any responsive material, You shall include a description of such

10   code along with the document produced. For example, the code word “Samah” (Hamas spelled

11   backwards) has been used to refer to Hamas.

12           6.         All documents requested are to be produced in the same file or other

13   organizational environment in which they are maintained. For example, a document that is part

14   of a file, docket, or other grouping should be physically produced together with all other

15   documents from said file, docket, or grouping, in the same order or manner of arrangement as

16   in the original.

17           7.         You shall keep and produce a record of the source of each document produced.

18   This shall include the name and location of the file where each document was located and the

19   name of the person, group, or department having possession, custody, or control of each

20   document.

21           8.         Unless otherwise indicated, the time frame applicable to these Requests is

22   January 1, 2019, through the present.

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 8
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 1          9.      These Requests for Production are intended to compel the production of

 2   documents that reference, either directly or in another language or in code, the terms set forth

 3   in each of the requests.

 4                                       INTERROGATORIES

 5          INTERROGATORY NO. 1: For all Documents and Communications responsive to

 6   these requests, please Identify (a) the location and manner in which such Documents and

 7   Communications are stored regardless of medium or format (i.e., electronic, digital, or hard

 8   copy, etc.), and (b) the manner in which You have searched for and retrieved such Documents

 9   in response to these discovery requests (i.e., search parameters, etc.).

10          RESPONSE:

11

12          INTERROGATORY NO. 2: Please Identify each custodian of Documents and

13   Communications responsive to these discovery requests.

14          RESPONSE:

15

16          INTERROGATORY NO. 3: List and Identify all Your current and former officers,

17   directors, employees, independent contractors, interns, and other staff whether paid or unpaid,

18   during any point between January 1, 2019 and the present.

19          RESPONSE:

20

21          INTERROGATORY NO. 4: List and Identify which of Your current and former

22   officers, directors, employees, independent contractors, interns, and other staff of People

23   Media Project were paid employees at any point between January 1, 2019 and the present.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 9
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 1          RESPONSE:

 2

 3          INTERROGATORY NO. 5: List, Describe, and Identify any and all Value

 4   Transfers—either direct or indirect (e.g., through an intermediary)—between or among You

 5   and Abdallah Aljamal and/or Fatima Aljamal from January 1, 2019 to the present. In

 6   Describing each Value Transfer, please list the bank account or other payment method from

 7   which the Value Transfer was sent, the bank account or other payment account which received

 8   the Value Transfer, whether the Value Transfer was made directly or through an intermediary,

 9   and, if so, what intermediaries (whether persons or intermediary bank accounts) were used to

10   execute the transaction.

11          RESPONSE:

12

13          INTERROGATORY NO. 6: List, Describe, and Identify all websites, blogs, internet

14   domains, social media accounts, and encrypted messaging services that You owned, created,

15   controlled, managed, or contributed to from January 1, 2019 to the present.

16          RESPONSE:

17

18          INTERROGATORY NO. 7: Identify and Describe all methods of Communication,

19   whether written or oral, and including, but not limited to, WhatsApp, Skype, SnapChat, Signal,

20   and Telegram, that any Person employed by or affiliated with Palestine Chronicle used to

21   Communicate with Abdallah Aljamal and/or Fatima Aljamal between January 1, 2019, and

22   June 9, 2024, and whether records of those Communications have been preserved.

23          RESPONSE:

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 10
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 1

 2          INTERROGATORY NO. 8: Describe the due diligence that You conduct before

 3   employing, or making payments to, a Person in Gaza, the West Bank, Turkey, Qatar, or Iran

 4   in order to ensure that any payments to that Person do not violate U.S. laws and regulations

 5   regarding national security sanctions, including, but not limited to, 18 U.S.C. § 2339B

 6   (material support of terrorism) and the International Emergency Economic Powers Act

 7   (IEEPA), 50 U.S.C. § 1701.

 8          RESPONSE:

 9

10          INTERROGATORY NO. 9: List, Identify, and Describe any Persons known by You

11   as having participated in the attacks of October 7, 2023 in Israel and/or that held hostages in

12   Gaza, that You Communicated with, at any point between January 1, 2019 and the present.

13          RESPONSE:

14

15          INTERROGATORY NO. 10: List, Identify, and Describe any Hamas members or

16   Hamas associates with whom any Person employed by, or associated with, You Communicated

17   with between January 1, 2019, and the present, and List, Identify, and Describe Your employee

18   or associate who Communicated with such Hamas members or Hamas associates.

19          RESPONSE:

20

21          INTERROGATORY NO. 11: If any Document or Communication You produced

22   pursuant to a Request for Production served on You by Plaintiffs contains any code,

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 11
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 1   pseudonym, or acronym used to describe, reference, or name any responsive material, provide

 2   a detailed description and explanation of such code, pseudonym, or acronym.

 3          RESPONSE:

 4

 5          INTERROGATORY NO. 12: Describe and Identify the information technology

 6   infrastructure that You use to Communicate and store Documents and data, including

 7   information Relating to network design, the types of databases, database dictionaries, the

 8   access control list and security access logs, rights of Persons to access the system and specific

 9   files and applications, the ESI document retention policy, the organizational chart for

10   information systems personnel, or the backup and systems recovery routines, including, but

11   not limited to, tape rotation and destruction/overwrite policy.

12          RESPONSE:

13

14          INTERROGATORY NO. 13: For any Request for Admission served on You by

15   Plaintiffs that You denied, in whole or in part, provide a detailed explanation of the reason for

16   Your denial.

17          RESPONSE:

18

19          INTERROGATORY NO. 14: Identify each Person You or Your attorneys expect to

20   testify at trial as an expert witness and, for each such witness, Describe and Identify the subject

21   matter on which the expert is expected to testify; the substance of the facts and opinions to

22   which the expert will testify; and a summary of the grounds for each such opinion.

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1          INTERROGATORY NO. 15: Identify and Describe with particularity the facts

 2   Related to each and every one of Your affirmative defenses and, as to each affirmative defense,

 3   the witnesses and Documents upon which You rely.

 4          RESPONSE:

 5

 6                                REQUESTS FOR PRODUCTION

 7          REQUEST FOR PRODUCTION NO. 1: Produce any and all written and oral

 8   Communications between any Person affiliated with Palestine Chronicle and Abdallah Aljamal

 9   between January 1, 2019 and June 9, 2024. Produce all Communications regardless of who the

10   sender, recipient, or intended recipient may be and regardless of whether any recipient was

11   directly sent the Communications or was only copied on the Communications.

12          RESPONSE:

13

14          REQUEST FOR PRODUCTION NO. 2: Produce any and all written and oral

15   Communications between any Person affiliated with You and Fatima Aljamal between January

16   1, 2019 and June 9, 2024. Produce all Communications regardless of who the sender, recipient,

17   or intended recipient may be and regardless of whether any recipient was directly sent the

18   Communications or only copied on the Communications.

19          RESPONSE:

20

21          REQUEST FOR PRODUCTION NO. 3: Produce any and all Communications or

22   Documents Relating to Your hiring, employment, oversight, and compensation (including but

23   not limited to any Value Transfer) of, and/or relationship with, Abdallah Aljamal.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1          RESPONSE:

 2

 3          REQUEST FOR PRODUCTION NO. 4: Produce any and all Communications or

 4   Documents Relating to Your hiring, employment, oversight, and compensation of (including

 5   but not limited to any Value Transfer), and/or relationship with, Fatima Aljamal.

 6          RESPONSE:

 7

 8          REQUEST FOR PRODUCTION NO. 5: Produce copies of Abdallah Aljamal’s

 9   Form W-2, Form 1099, or any other Documents Related to Abdallah Aljamal’s salary, wages,

10   or other compensation (including non-monetary compensation) and/or Value Transfer from

11   You to Abdallah Aljamal between January 1, 2019, and the present, including any and all

12   records of deposits, wire transactions, or any other record of any and all payments that You

13   made to Abdallah Aljamal, whether directly or indirectly, and regardless of whether those

14   payments were classified as salary or in some other way.

15          RESPONSE:

16

17          REQUEST FOR PRODUCTION NO. 6: Produce copies of Fatima Aljamal’s Form

18   W-2, Form 1099, or any other Documents Related to Fatima Aljamal’s salary, wages, or other

19   compensation (including non-monetary compensation) and/or Value Transfer from You to

20   Fatima Aljamal between January 1, 2019, and the present, including any and all records of

21   deposits, wire transactions, or any other record of any and all payments that You made to

22   Fatima Aljamal, whether directly or indirectly, and regardless of whether those payments were

23   classified as salary or in some other way.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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      CHRONICLE - 14
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 1          RESPONSE:

 2

 3          REQUEST FOR PRODUCTION NO. 7: Produce any and all Documents and

 4   Communications Relating to Your hierarchy and organizational structure. This request should

 5   be deemed to include, but not be limited to, organization charts, reporting structures, and lists

 6   of officers, directors, employees, and full or part time contractors.

 7          RESPONSE:

 8

 9          REQUEST FOR PRODUCTION NO. 8: Produce any and all Documents and

10   Communications Relating to Your formation and Your corporate governance, including, but

11   not limited to, any Articles of Incorporation, bylaws, director meeting minutes, and any other

12   Communications sufficient to disclose Your formation and organization.

13          RESPONSE:

14

15          REQUEST FOR PRODUCTION NO. 9: Produce any and all Documents and

16   Communications between You and Your affiliates, directors, officers, employees, contractors,

17   volunteers, interns, agents, or representatives, which contain, or Relate to, the terms provided

18   in the Search List. If You believe the use of search parameters and ESI is necessary to respond

19   to this Request, please provide Your proposed methodology for responding to this Request

20   pursuant to Your obligations under the Federal Rules of Civil Procedure.

21          RESPONSE:

22

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 15
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 1          REQUEST FOR PRODUCTION NO. 10: Produce any and all Documents and

 2   Communications Relating to Abdallah Aljamal that contain any of the terms provided in the

 3   Search List. If You believe the use of search parameters and ESI is necessary to respond to

 4   this Request, please provide Your proposed methodology for responding to this Request

 5   pursuant to Your obligations under the Federal Rules of Civil Procedure.

 6          RESPONSE:

 7

 8          REQUEST FOR PRODUCTION NO. 11: Produce any and all Documents and

 9   Communications Relating to Fatima Aljamal that contain any of the terms provided in the

10   Search List. If You believe the use of search parameters and ESI is necessary to respond to

11   this Request, please provide Your proposed methodology for responding to this Request

12   pursuant to Your obligations under the Federal Rules of Civil Procedure.

13          RESPONSE:

14

15          REQUEST FOR PRODUCTION NO. 12: Produce any and all Documents and

16   Communications Relating to Nurah Tape-Sallie that contain any of the terms provided in the

17   Search List. If You believe the use of search parameters and ESI is necessary to respond to

18   this Request, please provide Your proposed methodology for responding to this Request

19   pursuant to Your obligations under the Federal Rules of Civil Procedure.

20          RESPONSE:

21

22          REQUEST FOR PRODUCTION NO. 13: Produce any and all Documents and

23   Communications Relating to Francesca Albanese that contain any of the terms provided in the

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 16
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 1   Search List. If You believe the use of search parameters and ESI is necessary to respond to

 2   this Request, please provide Your proposed methodology for responding to this Request

 3   pursuant to Your obligations under the Federal Rules of Civil Procedure.

 4          RESPONSE:

 5

 6          REQUEST FOR PRODUCTION NO. 14: Produce any and all Social Media

 7   Activity from any account over which You exercise some possession, custody, or control that

 8   Relate to, or contain, any of the terms provided in the Search List. If You believe the use of

 9   search parameters and ESI is necessary to respond to this Request, please provide Your

10   proposed methodology for responding to this Request pursuant to Your obligations under the

11   Federal Rules of Civil Procedure.

12          RESPONSE:

13

14          REQUEST FOR PRODUCTION NO. 15: Produce any and all Social Media Activity

15   from any account over which You exercise some possession, custody, or control that Relates

16   to (i) any FTO, and/or (ii) IS-DTO. This includes, but is not limited to, Relating to current or

17   former members, affiliates, directors, officers, employees, contractors, volunteers, interns,

18   agents, or representatives, or that demonstrates a relationship, connection, or communication

19   with an FTO and/or IS-DTO.

20          RESPONSE:

21

22          REQUEST FOR PRODUCTION NO. 16: Produce any and all Communications,

23   either direct or indirect (e.g., through an intermediary), between any employee or affiliate of

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1   Yours and an FTO. This includes, but is not limited to, Communications to the FTO’s current

 2   or former members, affiliates, directors, officers, employees, contractors, volunteers, interns,

 3   agents, or representatives, or that demonstrates a relationship, connection, or communication

 4   that FTO. Produce all Communications from January 1, 2015 to the present. Produce all

 5   Communications regardless of who the sender, recipient, or intended recipient may be and

 6   regardless of whether any recipient was directly sent the Communications or was only copied

 7   on the Communications.

 8          RESPONSE:

 9

10          REQUEST FOR PRODUCTION NO. 17: Produce any and all Communications,

11   either direct or indirect (e.g., through an intermediary), between any employee or affiliate of

12   You and an IS-DTO. This includes, but is not limited to, Communications to IS-DTO’s current

13   or former members, affiliates, directors, officers, employees, contractors, volunteers, interns,

14   agents, or representatives, or that demonstrates a relationship, connection, or communication

15   with that IS-DTO. Produce all Communications from January 1, 2015 to the present. Produce

16   all Communications regardless of who the sender, recipient, or intended recipient may be and

17   regardless of whether any recipient was directly sent the Communications or was only copied

18   on the Communications.

19          RESPONSE:

20

21          REQUEST FOR PRODUCTION NO. 18: Produce any and all Documents and

22   Communications Relating to any of Your owner’s, director’s, and/or employee’s international

23   and domestic travel, including, but not limited to, travel arrangements, accommodations,

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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 1   Communications with travel agencies, flight records, confirmation records, airline tickets,

 2   boarding passes, hotel reservation confirmations, credit card statements, and customs

 3   documentation. Please produce these Documents and Communications from January 1, 2019,

 4   to the present date.

 5          RESPONSE:

 6

 7          REQUEST FOR PRODUCTION NO. 19: Produce copies of Your profit and loss

 8   statements, Financial Statements, and any other Documents showing assets, profits, and

 9   liabilities between January 1, 2019, and the present.

10          RESPONSE:

11

12          REQUEST FOR PRODUCTION NO. 20: Produce copies of Your tax Documents

13   prepared or filed between January 1, 2019, and the present, including but not limited to state

14   and federal business income tax returns, state and federal gift tax returns, Forms 990, Forms

15   1023, and IRS or other governmental agency examination reports and work papers, including

16   all adjustments made regarding the business. Notwithstanding the timeframe, please include

17   Your Form 1023 if the same was filed prior to January 1, 2019.

18          RESPONSE:

19

20          REQUEST FOR PRODUCTION NO. 21: Produce copies of Communications and

21   Documents sent to any Person who prepared, assisted in preparing, filed, or assisted in filing

22   the tax Documents described in the preceding Request For Production, including, but not

23   limited to, an accountant or bookkeeper.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
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 1          RESPONSE:

 2

 3          REQUEST FOR PRODUCTION NO. 22: Produce copies of Your bank statements

 4   or statements of any and each of Your financial accounts from January 1, 2019 to the present.

 5          RESPONSE:

 6

 7          REQUEST FOR PRODUCTION NO. 23: Produce copies of Your general ledger

 8   from January 1, 2019 to the present.

 9          RESPONSE:

10

11          REQUEST FOR PRODUCTION NO. 24: Produce supporting Documents for all

12   expenses incurred and recorded on Your General Ledger from January 1, 2019 to the present.

13          RESPONSE:

14

15          REQUEST FOR PRODUCTION NO. 25: Produce a full and unadulterated copy of

16   Your QuickBooks (or other bookkeeping software) from January 1, 2019 to the present.

17          RESPONSE:

18

19          REQUEST FOR PRODUCTION NO. 26: Produce copies of any and each of Your

20   credit card statements from January 1, 2019 to the present.

21          RESPONSE:

22

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 20
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 1          REQUEST FOR PRODUCTION NO. 27: Produce any and all Documents and

 2   Communications Relating to any Value Transfer—either direct or indirect (e.g., through an

 3   intermediary)—between or among You and Abdallah Aljamal from January 1, 2019, to the

 4   present, including, but not limited to, bank account records, records of wire transfers, records

 5   of direct deposits, records of payments on payment applications, such as CashApp, Zelle,

 6   Venmo, or PayPal, records of payments using any cryptocurrency, and any other written

 7   records of any such Value Transfer.

 8          RESPONSE:

 9

10          REQUEST FOR PRODUCTION NO. 28: Produce any and all Documents and

11   Communications Relating to any Value Transfer—either direct or indirect (e.g., through an

12   intermediary)—between or among You and Fatima Aljamal from January 1, 2019, to the

13   present, including, but not limited to, bank account records, records of wire transfers, records

14   of direct deposits, records of payments on payment applications, such as CashApp, Zelle,

15   Venmo, or PayPal, records of payments using any cryptocurrency, and any other written

16   records of any such Value Transfer.

17          RESPONSE:

18

19          REQUEST FOR PRODUCTION NO. 29: Produce any and all Documents and

20   Communications Relating to financial support (including but not limited to any Value

21   Transfer) to You in consideration for Your publication of Abdallah Aljamal’s articles,

22   Communications, or Documents.

23          RESPONSE:

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1

 2          REQUEST FOR PRODUCTION NO. 30: Produce any and all Documents and

 3   Communications Relating to any Value Transfer—either direct or indirect (e.g., through an

 4   intermediary)—between or among You and any entity or individual located in Gaza, the West

 5   Bank, Turkey, Qatar, or Iran at the time of transfer, including, but not limited to, bank account

 6   records, records of wire transfers, records of direct deposits, records of payments on payment

 7   applications, such as CashApp, Zelle, Venmo, or PayPal, records of payments using any

 8   cryptocurrency, and any other written records of any such Value Transfer. Please produce these

 9   records from January 1, 2019 to the present date.

10          RESPONSE:

11

12          REQUEST FOR PRODUCTION NO. 31: Produce any and all Documents and

13   Communications, including, but not limited to, marketing materials, pamphlets, attendee lists,

14   speaker lists, transcripts, and sponsors, of any events, conferences, or meetings, formal or

15   informal, concerning or Related to the terms of the Search List at which You have spoken at,

16   were invited to, attended, or were otherwise involved or affiliated with. If You believe the use

17   of search parameters and ESI is necessary to respond to this Request, please provide Your

18   proposed methodology for responding to this Request pursuant to Your obligations under the

19   Federal Rules of Civil Procedure.

20          RESPONSE:

21

22

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 22
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 1          REQUEST FOR PRODUCTION NO. 32: Produce any and all Documents and

 2   Communications shared or disseminated by You that were created, posted, or published by any

 3   FTO prior to Your sharing or dissemination of the same from January 1, 2019 to the present.

 4          RESPONSE:

 5

 6          REQUEST FOR PRODUCTION NO. 33: Produce any and all Documents and

 7   Communications Relating to a full listing of Your financial donors, sponsors, and supporters

 8   from January 1, 2019 to the present date.

 9          RESPONSE:

10

11          REQUEST FOR PRODUCTION NO. 34: Produce any and all Documents and

12   Communications Relating to any and all fundraising activities You conducted, sponsored,

13   promoted, advertised, authorized, or participated in, including fundraising for the benefit of

14   other organizations. Please produce these records from January 1, 2019 to the present date.

15          RESPONSE:

16

17          REQUEST FOR PRODUCTION NO. 35: Produce any and all Documents and

18   Communications Related to the use, receipt, and disposition of Your monies and/or Your funds

19   that was sent to, or intended for use by, any Persons in Gaza, the West Bank, Qatar, Iran,

20   Turkey, Lebanon, Egypt, or Syria. Please produce these records from January 1, 2019 to the

21   present date.

22          RESPONSE:

23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 23
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 1          REQUEST FOR PRODUCTION NO. 36: Produce any and all Documents and

 2   Communications Related to the registration and maintenance of any website, blog, social

 3   media account, or internet domain name owned, controlled, created, or maintained by or on

 4   behalf of You.

 5          RESPONSE:

 6

 7          REQUEST FOR PRODUCTION NO. 37: Produce any and all Documents Related

 8   to Your compliance, or Your efforts to comply, with United States laws or regulations

 9   regarding national security sanctions, including, but not limited to, 18 U.S.C. § 2339B

10   (material support of terrorism) and International Emergency Economic Powers Act (IEEPA),

11   50 U.S.C. § 1701.

12          RESPONSE:

13

14          REQUEST FOR PRODUCTION NO. 38: Produce any and all Documents and

15   Communications requested by any interrogatory served by Plaintiffs, identified in Your

16   responses thereto, or consulted or relied upon in the formulation of Your responses thereto.

17          RESPONSE:

18

19          REQUEST FOR PRODUCTION NO. 39: Produce any and all Documents and

20   Communications provided to or relied upon by each Person You expect to call as an expert

21   witness at the trial of this action to form his or her opinion, all reports, Documents or

22   Communications prepared by each such Person Relating to this action, and a complete

23   curriculum vitae and resume for each such Person.

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1          RESPONSE:

 2

 3          REQUEST FOR PRODUCTION NO. 40: Produce any and all records describing

 4   the processing of these Requests For Production, including records sufficient to identify the

 5   search terms used and locations and custodians searched, and any tracking sheets used to track

 6   the processing of these Requests For Production. If You used questionnaires or certifications

 7   completed by individual custodians or components to determine whether they possess

 8   responsive materials or to describe how they conducted searches, provide any such records

 9   prepared in connection with the processing of those Requests.

10          RESPONSE:

11

12          DATED this 18th of April 2025.
                                                     Respectfully submitted,
13                                                   TOMLINSON BOMSZTYK RUSS

14                                                   By:
                                                     Aric S. Bomsztyk, WSBA #38020
15                                                   Blair M. Russ, WSBA #40374
                                                     1000 Second Avenue, Suite 3660
16                                                   Seattle, Washington 98104
                                                     T: 206.621.1871
17                                                   asb@tbr-law.com
                                                     bmr@tbr-law.com
18
                                                     NATIONAL JEWISH ADVOCACY
19                                                   CENTER, INC.
                                                     THE INTERNATIONAL LEGAL FORUM
                                                     Mark Goldfeder (pro hac vice)
20
                                                     1718 General George Patton Drive
                                                     Brentwood, TN 37027
21                                                   Phone: (800) 269-9895
                                                     mark@jewishadvocacycenter.org
22                                                   ben@jewishadvocacycenter.org
                                                     anat@jewishadvocacycenter.org
23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
      CHRONICLE - 25
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 1
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                                              TORCHINSKY & JOSEFIAK PLLC
                                              Jason Torchinsky (pro hac vice)
 6
                                              Erielle Davidson (pro hac vice)
                                              John J. Cycon (pro hac vice)
 7                                            Kellen Dwyer (pro hac vice forthcoming)
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 8                                            Washington, DC 20037
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 9                                            edavidson@holtzmanvogel.com
                                              jcycon@holtzmanvogel.com
10                                            kdwyer@holtzmanvogel.com
                                              Phone: (202) 737-8808
11
                                              Counsel for Plaintiffs
12

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24
     PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
     PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1                                    PARTY VERIFICATION

 2   STATE OF WASHINGTON )
                           ) ss
 3   COUNTY OF ___________ )

 4          ______________________, being first duly sworn on oath, deposes and says:

 5          I am a Representative of Defendant People Media Project d/b/a Palestine Chronicle; I
     have read the foregoing answers to Requests for Production, know the contents thereof, and
 6   believe the same to be true personally.

 7
                                                 Printed Name:
 8                                               Its:

 9          Subscribed and sworn to before me on ____________________, 2025.

10
                                                 NOTARY PUBLIC in and for the
11                                               State of Washington
                                                 Residing in                           County
12                                               My Commission Expires:
                                                 Printed Name:
13

14

15                              CERTIFICATION OF ATTORNEY

16          The undersigned attorney for Defendant People Media Project d/b/a Palestine

17   Chronicle, has read Plaintiffs’ Requests for Production, and the answers, responses and

18   objections thereto, and they are in compliance with CR 26(g) and the local rules of this Court.

19          DATED this ____ day of ___________________________, 2025.

20

21                                                By:
                                                  Daniel M. Kovalik
22                                                Attorney for Defendant, People Media Project
                                                  d/b/a Palestine Chronicle
23

24
      PLAINTIFFS’ FIRST INTERROGATORIES & REQUESTS FOR
      PRODUCTION TO PEOPLE MEDIA PROJECT d/b/a PALESTINE
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 1                                    CERTIFICATE OF SERVICE

 2          I am employed by the law firm of Tomlinson Bomsztyk Russ, over the age of 18, not

 3   a party to this action, and competent to be a witness herein.

 4          On Friday, April 18, 2025, I caused a true and correct copy of the foregoing document

 5   (Plaintiffs First Interrogatories and Requests for Production to People Media Project d/b/a

 6   Palestine Chronicle) to be delivered to the following in the manner indicated below:

 7    COUNSEL FOR DEFENDANTS:
                                                           Via United States Mail
 8    Daniel Kovalik                                       Via Legal Messengers
      112 Washington Place, Suite 15K                      Via Facsimile
 9    Pittsburgh, Pennsylvania 12519                       Via Email: dkovalik@outlook.com
      Phone: (412) 335-6442
10
      Ralph Hurvitz                                        Via United States Mail
11    P.O. Box 25642                                       Via Legal Messengers
      Seattle, Washington 98165                            Via Facsimile
12    Phone: (206) 223-1747                                Via Email: ralph@hurvitz.com

13          I declare under penalty of perjury under the laws of the State of Washington that the

14   following is true and correct.

15          DATED this 18th day of April 2025, in Snohomish County, Washington.

16

17                                                 Signature:
                                                                     Lisa Sebree
18

19

20

21

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23

24
      PLAINTIFFS’ FIRST REQUESTS FOR PRODUCTION TO
      PEOPLE MEDIA PROJECT d/b/a PALESTINE CHRONICLE - 16
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 1

 2

 3

 4
                          UNITED STATES DISTRICT COURT
 5                  WESTERN DISTRICT OF WASHINGTON AT TACOMA

 6    ALMOG MEIR JAN, SHLOMI ZIV, and                  NO. 3:24-cv-05553-TLF
      ANDREY KOZLOV,
 7                           Plaintiffs,               PLAINTIFFS’ FIRST REQUESTS
      v.                                               FOR ADMISSION
 8
      PEOPLE MEDIA PROJECT, a Washington
 9    Non-Profit Corporation, d/b/a PALESTINE
      CHRONICLE; RAMZY BAROUD; JOHN
10    HARVEY; and DOES 1 through 10,

11                                     Defendants.

12
           PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION TO DEFENDANTS:
               PEOPLE MEDIA PROJECT d/b/a PALESTINE CHRONICLE
13
            Pursuant to Federal Rule of Civil Procedure 36, Plaintiffs Almog Meir Jan, Shlomi Ziv,
14
     and Andrey Kozlov (collectively, “Plaintiffs”), request that Defendant People Media Project
15
     d/b/a People Media Project (“Defendant”) each respond to the following Requests for
16
     Admission within thirty (30) days of service of these Requests.
17
                                            DEFINITIONS
18
            For purposes of these requests only, Plaintiffs use the following definitions:
19
            1.      “You” or “Your” means Defendant People Media Project d/b/a Palestine
20
     Chronicle as well as any directors, agents, employees, independent contractors, volunteers,
21
     attorneys, partners, agents, representatives, or any other person or entity acting or purporting
22
     to act on behalf the Defendant People Media Project d/b/a Palestine Chronicle.,
23

24
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 1              2.    “And” and “or” mean and include both the conjunctive and the disjunctive, and

 2   shall be construed as necessary to bring within the scope of this request all responses that might

 3   otherwise be construed to be outside their scope.

 4              3.    “Aljamal” means Abdallah Aljamal.

 5                                           INSTRUCTIONS

 6              1.    These Requests are directed to all Your knowledge, including any person or

 7   entity acting or purporting to act on Your behalf, at Your direction, or under Your supervision,

 8   and to all possible sources of such knowledge, be they documentary, testimonial, or otherwise,

 9   which are known to any of the aforesaid or to any and all persons acting on its behalf.

10              2.    Each of the statements made below shall be deemed admitted unless You serve

11   on Plaintiffs, within thirty (30) days after service of these Requests, a written answer directed

12   specifically to that matter and otherwise conforming to the requirements of Fed. R. Civ. P. 36.

13              3.    The grounds for objecting to a request must be stated with specificity. Any

14   ground not stated in a timely objection is waived unless the Court, for good cause, excuses the

15   failure.

16              4.    Your response shall specifically admit or deny the matter or set forth in detail

17   the reasons why You cannot truthfully admit or deny the matter.

18              5.    When good faith requires that only part of the matter of which an admission is

19   requested be denied or qualified, specify how much of the matter is true and qualify or deny

20   the remainder.

21              6.    You may not assert lack of information or knowledge as a reason for failure to

22   admit or deny unless You state that You have made reasonable inquiry and that the information

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 1   known to, or readily obtainable by You is insufficient to enable You to admit or deny the

 2   specific Requests.

 3          7.      If in answering any Request You claim an ambiguity in interpreting a Request,

 4   such claim shall not be asserted as a basis for refusing to respond, but instead, You shall set

 5   forth as part of Your response to such Request the language deemed to be ambiguous, and the

 6   interpretation chosen to be used in responding to the Request.

 7          8.      These Requests are continuing in nature, and to the extent Your responses may

 8   be modified by information acquired subsequent to Your initial responses hereto, You are

 9   required, to the extent set forth in Fed. R. Civ. P. 36, to promptly serve supplemental responses

10   reflecting such changes.

11          9.      Any failure to comply with these requirements may subject You to sanctions

12   pursuant to Fed. R. Civ. P. 37, including the exclusion from trial of documentary testimonial

13   or other evidence favorable to You, and an award requiring You to pay Plaintiffs’ expenses,

14   including attorney's fees.

15                                  REQUESTS FOR ADMISSION

16          REQUEST FOR ADMISSION NO. 1: Admit that You were and are aware that, on

17   October 7, 2023, Hamas, the organization designated by the U.S. Secretary of State in October

18   1997 as a Foreign Terrorist Organization, murdered and kidnapped Israeli civilians.

19          ANSWER:

20

21          REQUEST FOR ADMISSION NO. 2: Admit that among those kidnapped on

22   October 7, 2023, were all three Plaintiffs: Almog Meir Jan, Shlomi Zin, and Andrey Kozlov.

23          ANSWER:

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 3
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 1

 2          REQUEST FOR ADMISSION NO. 3: Admit that Plaintiffs, Almog Meir Jan, Shlomi

 3   Zin, and Andrey Kozlov, were held in captivity by Hamas from October 7, 2023, until the

 4   Israeli Defense Force (IDF) rescued the Plaintiffs on June 8, 2024.

 5          ANSWER:

 6

 7          REQUEST FOR ADMISSION NO. 4: Admit that Plaintiffs were recovered from the

 8   home of Abdallah Aljamal.

 9          ANSWER:

10

11          REQUEST FOR ADMISSION NO. 5: Admit that Abdallah Aljamal was killed by

12   IDF forces on June 8, 2024.

13          ANSWER:

14

15          REQUEST FOR ADMISSION NO. 6: Admit that Abdallah Aljamal was a

16   spokesperson for Hamas from at least January 1, 2023, until his death.

17          ANSWER:

18

19          REQUEST FOR ADMISSION NO. 7: Admit that, from at least October 7, 2023,

20   until June 8, 2024, You were aware that Abdallah Aljamal had been a spokesperson for Hamas.

21          ANSWER:

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 4
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 1          REQUEST FOR ADMISSION NO. 8: Admit You employed Abdallah Aljamal until

 2   his death on June 8, 2024.

 3          ANSWER:

 4

 5          REQUEST FOR ADMISSION NO. 9: Admit that Fatima Aljamal, the spouse of

 6   Abdallah Aljamal, was likewise employed and compensated by You from at least January 1,

 7   2023, until her death.

 8          ANSWER:

 9

10          REQUEST FOR ADMISSION NO. 10: Admit that People Media Project d/b/a

11   Palestine Chronicle is a 501(c)(3) nonprofit corporation incorporated in the State of

12   Washington.

13          ANSWER:

14

15          REQUEST FOR ADMISSION NO. 11: Admit that People Media Project d/b/a

16   Palestine Chronicle’s principal place of business is in Olympia, Washington.

17          ANSWER:

18

19          REQUEST FOR ADMISSION NO. 12: Admit that People Media Project d/b/a

20   Palestine Chronicle operates an English language and U.S.-based news outlet under the name

21   Palestine Chronicle, covering events concerning the Middle East and Palestine.

22          ANSWER:

23

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 5
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 1          REQUEST FOR ADMISSION NO. 13: Admit that Defendant Ramzy Baroud has

 2   been the Editor-in-Chief of Palestine Chronicle and a Governor of People Media Project from

 3   at least January 1, 2023, to present.

 4          ANSWER:

 5

 6          REQUEST FOR ADMISSION NO. 14: Admit that Defendant Ramzy Baroud is

 7   ultimately responsible for the management of the Palestine Chronicle.

 8          ANSWER:

 9

10          REQUEST FOR ADMISSION NO. 15: Admit that Defendant John Harvey has been

11   a Governor of People Media Project and its “Principal Officer” from at least January 1, 2023,

12   to present.

13          ANSWER:

14

15          REQUEST FOR ADMISSION NO. 16: Admit that Defendant John Harvey

16   ultimately oversees the management and financial decisions of the Palestine Chronicle.

17          ANSWER:

18

19          REQUEST FOR ADMISSION NO. 17: Admit that You were aware that Hamas has

20   been designated by the United States Government a Foreign Terrorist Organization prior to

21   October 7, 2023.

22          ANSWER:

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 6
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 1          REQUEST FOR ADMISSION NO. 18: Admit that You were aware that Hamas has

 2   been designated by the United States Government a Foreign Terrorist Organization after

 3   October 7, 2023.

 4          ANSWER:

 5

 6          REQUEST FOR ADMISSION NO. 19: Admit that, between October 7, 2023, and

 7   Abdallah Aljamal’s death, You published over twelve (12) articles written by Aljamal.

 8          ANSWER:

 9

10          REQUEST FOR ADMISSION NO. 20: Admit that, between October 7, 2023, and

11   Abdallah Aljamal’s death, You compensated Aljamal for his work product You published.

12          ANSWER:

13

14          REQUEST FOR ADMISSION NO. 21: Admit that, on June 9, 2024, You changed

15   Abdallah Aljamal’s title on the Palestine Chronicle website from “correspondent for The

16   Palestine Chronicle” to “contributor.”

17          ANSWER:

18

19          REQUEST FOR ADMISSION NO. 22: Admit that, during the period from January

20   1, 2023, to June 7, 2024, You were aware that Abdallah Aljamal was an associate of Hamas.

21          ANSWER:

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 7
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 1          REQUEST FOR ADMISSION NO. 23: Admit that, during Your engagement with

 2   Abdallah Aljamal after October 7, 2023, and before his death, You were aware that Aljamal

 3   participated in the actions of Hamas on October 7, 2023.

 4          ANSWER:

 5

 6          REQUEST FOR ADMISSION NO. 24: Admit that, after October 7, 2023, and before

 7   his death, Ramzy Baroud viewed Abdallah Aljamal’s Facebook page.

 8          ANSWER:

 9

10          REQUEST FOR ADMISSION NO. 25: Admit that after October 7, 2023, and before

11   his death, Ramzy Baroud viewed Abdallah Aljamal’s TikTok page.

12          ANSWER:

13

14          REQUEST FOR ADMISSION NO. 26: Admit that You were in direct contact with

15   Abdallah Aljamal between October 7, 2023, and Aljamal’s death.

16          ANSWER:

17

18          REQUEST FOR ADMISSION NO. 27: Admit that You communicated with

19   Abdallah Aljamal between October 7, 2023, and Aljamal’s death, using a messaging

20   application.

21          ANSWER:

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 8
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 1        DATED this 18th of April 2025.

 2                                             Respectfully submitted,
                                               TOMLINSON BOMSZTYK RUSS
 3
                                               By:
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                                               Blair M. Russ, WSBA #40374
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23                                             Counsel for Plaintiff
24
     PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 9
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 1                              CERTIFICATION OF ATTORNEY

 2          The undersigned attorney for Defendant, People Media Project d/b/a Palestine

 3   Chronicle, has read Plaintiffs’ Requests for Admissions, and the answers, responses, and

 4   objections thereto, and they are in compliance with CR 36 and the local rules of this Court.

 5          DATED this ____ day of ___________________________, 2025.

 6

 7                                                By:
                                                  Daniel M. Kovalik
 8                                                Attorney for Defendant, People Media Project
                                                  d/b/a Palestine Chronicle
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 1                                    CERTIFICATE OF SERVICE

 2          I am employed by the law firm of Tomlinson Bomsztyk Russ, over the age of 18, not

 3   a party to this action, and competent to be a witness herein.

 4          On Friday, April 18, 2025, I caused a true and correct copy of the foregoing document

 5   (Plaintiffs First Requests for Admission) to be delivered to the following in the manner

 6   indicated below:

 7    COUNSEL FOR DEFENDANTS:
                                                           Via United States Mail
 8    Daniel Kovalik, Esq.                                 Via Legal Messengers
      112 Washington Place, Suite 15K                      Via Facsimile
 9    Pittsburgh, Pennsylvania 12519                       Via Email: dkovalik@outlook.com
      Phone: (412) 335-6442
10
      Ralph Hurvitz, Esq.                                  Via United States Mail
      P.O. Box 25642                                       Via Legal Messengers
11    Seattle, Washington 98165                            Via Facsimile
      Phone: (206) 223-1747                                Via Email: ralph@hurvitz.com
12

13          I declare under penalty of perjury under the laws of the State of Washington that the

14   following is true and correct.

15          DATED this 18th day of April 2025, in Snohomish County, Washington.

16

17                                                 Signature:
                                                                     Lisa Sebree
18

19

20

21

22

23

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      PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION - 3
